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                                                                  1    LAW OFFICES OF YAN E. SHRAYBERMAN
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                                                                       Facsimile:     (213) 352-1010
                                                                  4
                                                                       Attorney for Defendant
                                                                  5    ROXANA DODIER

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                                                                                                       UNITED STATES DISTRICT COURT,
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                                                                                                       EASTERN DISTRICT OF CALIFORNIA
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                                                                       UNITED STATES OF AMERICA,                        Court Case#: 1:15-cr-00329-LJO-SKO
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                                          Plaintiff,                  STIPULATION AND O R D E R MODIFYING
                                                                  13                                                  CONDITIONS OF RELEASE
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       v.
                                                                  14
                                                                       ROXANA DODIER
                                                                  15
                                                                                          Defendant.
                                                                  16

                                                                  17
                                                                               Defendant ROXANA DODIER, though his counsel, respectfully requests that she be
                                                                  18
                                                                       allowed to modify the conditions of his pre-trial release to remove her location monitoring
                                                                  19
                                                                       condition.
                                                                  20           This counsel has spoken with the counsel for the government and there is no objection to
                                                                  21   this change of the conditions of his pretrial release. Likewise, Ryan Beckwith of Pre-Trial
                                                                  22   Services and he also indicated that if the U.S. Attorney doesn’t object he would not object either.
                                                                  23   Date: 4/27/2017                                              /s/Yan E. Shrayberman
                                                                  24                                                                YAN E. SHRAYBERMAN
                                                                  25   Date: 4/27/2017                                              /s/ Roxana Dodier

                                                                  26                                                                ROXANA DODIER

                                                                  27   Date:                                                        /s/Kimberlee Sanchez

                                                                  28                                                                KIMBERLEE SANCHEZ

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                                                                       Case 1:15-cr-00329-ADA-BAM Document 47 Filed 05/02/17 Page 2 of 2


                                                                  1                                     UNITED STATES DISTRICT COURT,
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                                                                  3                                     EASTERN DISTRICT OF CALIFORNIA
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                                                                  5    UNITED STATES OF AMERICA,                           Court Case#: 1:15-cr-00329-LJO-SKO

                                                                  6                        Plaintiff,                        O R D E R MODIFYING CONDITIONS
                                                                                                                               OF RELEASE
                                                                  7    v.

                                                                  8    ROXANA DODIER

                                                                  9                        Defendant.

                                                                  10
                                                                              IT IS ORDERED, that the conditions of ROXANA DODIER’s pretrial release are
                                                                  11   hereby modified to
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                       The following conditions be removed from her conditions of pre-trial release:
                                                                  13
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                              You must participate in the following location monitoring program component
                                                                  14   and abide by all the requirements of the program, which will include having a location
                                                                  15   monitoring unit installed in your residence and a radio frequency transmitter device
                                                                       attached to your person. You must comply with all instructions for the use and
                                                                  16   operation of said devices as given to you by the Pretrial Services Agency and
                                                                  17   employees of the monitoring company. You must pay all or part of the costs of the
                                                                       program based upon your ability to pay, as determined by the pretrial services
                                                                  18   officer; CURFEW: You must remain inside your residence every day from 2100 to
                                                                  19
                                                                       0600, or as adjusted by the pretrial services officer for medical, religious services,
                                                                       employment or court-ordered obligations.
                                                                  20
                                                                  21            All other pre-trial release conditions shall remain in full force and effect.

                                                                  22   IT IS SO ORDERED.
                                                                  23
                                                                       Dated:     May 2, 2017
                                                                  24                                                        UNITED STATES MAGISTRATE JUDGE

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